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                                           Introduction
                                           Ovarian cancer has a poor prognosis with the lowest survival rate among all gynecological can-
                                           cers, which is mainly due to the lack of early symptoms, resulting in diagnosis when the cancer
                                           has already progressed to an advanced stage [1]. The World Cancer Report of the International
                                           Agency for Research on Cancer stated that 114,240 women were diagnosed with ovarian can-
                                           cer in 2014, with a 5-year survival rate below 45% [2]. In the United States, the mortality rate
                                           of ovarian cancer ranks fifth among all cancer patients, with 22,440 new patients with ovarian
                                           cancer diagnosed in 2017 resulting in 14,080 deaths [1]. Improvement of this situation requires
                                           more extensive research on epithelial ovarian cancer, which necessitates an adequate quantity
                                           of human ovarian surface epithelial (HOSE) cells as controls for comparisons of the specific
                                           properties and biological behaviors of ovarian cancer cells. However, HOSE cells have an
                                           extremely short life span in monolayer cell culture, which has thus far limited ovarian cancer
                                           research. Although culture of HOSE cells in a modified medium (NOSE-CM) could potentially
                                           prolong cell survival compared to culture in more common media [3], this method alone can-
                                           not sustain the amount of HOSE cells required for basic research purposes. Therefore, cell
                                           immortalization methods that allow continuous cell growth without limitation of cellular life
                                           span have been actively investigated [4±7], including viral gene induction that controls pro-
                                           teins involved in the cell cycle and artificial expression of core proteins related to cell immor-
                                           tality [8]. Specifically, immortalized cell lines are established by overexpression of the
                                           HPV-E6/E7 protein or SV40 T antigen in healthy ovarian surface epithelial cells [4, 5]. Alter-
                                           natively, overexpression of human telomerase (hTERT) instead of HPV-E6/E7 has been
                                           reported to maintain cellular functions of pRB and p53 [6]. Moreover, the success rate of pro-
                                           ducing immortalized cell lines increases when hTERT overexpression is coupled with overex-
                                           pression of HPV-E6/E7 or SV40 T antigen compared to overexpression of hTERT alone [7].
                                           Furthermore, once an immortalized cell line is established, it must be verified by confirming
                                           that the characteristics of the progenitor cell line are preserved. For an epithelial cell line, such
                                           observations are based on examination of the cellular morphology and expression pattern of
                                           the epithelial marker cytokeratin [9]. In addition, any changes in chromosomes that may have
                                           been induced by the immortalization protocol are screened by karyotype analysis [10] and/or
                                           the presence of gene mutations from the progenitor cell using whole-exome sequencing [11].
                                           Actually, ovarian cancer has been known to originate from the ovarian surface epithelium
                                           (OSE) since the mid-90s to early 2000s [12±15]. To understand the ovarian carcinogenesis,
                                           immortalized OSE (IOSE) cells were constructed by the overexpression of immortalized SV-
                                           40 T antigen, telomerase and the HPV E6/E7 protein by various study groups [12±14, 16±20].
                                           Several studies have been attempted to identify the genetic differences and their functions in
                                           IOSE cells as an intermediate step in cancer, in order to understand the function of pre-malig-
                                           nant or tumorigenic cells [12±15, 17, 21]. In Clinical Cancer Research article (2003), the differ-
                                           ences in the gene expression between the IOSE and normal OSE cells were compared using
                                           microarray, and whether IOSE cells could be used as a control for ovarian cancer research was
                                           discussed [19]. Since then, in the late 2000s and mid-2010, an IOSE cell line was used as an
                                           experimental control for ovarian cancer, and these cells were used as a tool to identify the func-
                                           tions and mechanisms of genes implicated in cancer cells [20, 22±28]. Although it has been con-
                                           cluded that the origin of serous ovarian carcinoma arises from the fallopian tube epithelium,
                                           and that the endometrioid and clear cell carcinoma are derived from endometriosis [29±31],
                                           IOSE cells are still used in many studies as an experimental control and to understand gene
                                           functions. Moreover, various kinds of immortalized cells generated in the future might serve as
                                           important experimental tools [26±28]. Here, we used an RNA sequencing technique for gene
                                           expression profiling to verify whether our established immortalized HOSE (IHOSE) cells




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                                           retained characteristics of the progenitor HOSE cells in comparison to those of ovarian cancer
                                           cells. In addition, we investigated whether the IHOSE cells demonstrated any malignant features
                                           of cancer cells based on cancer stem cell marker expression and an anchorage-independent
                                           growth assay. Confirmation of these characteristics and stability of IHOSE cells established with
                                           the proposed method could provide a useful resource for comparative or gene expression stud-
                                           ies on ovarian cancer toward identification of novel therapeutic and/or diagnostic targets.

                                           Materials and methods
                                           Cell culture
                                           HOSE cells were obtained by scraping the surfaces of healthy ovaries from patients without
                                           cancer, and were provided by the Korea Gynecologic Cancer Bank through the Bio&Medical
                                           Technology Development Program of the Ministry of the National Research Foundation
                                           (NRF) funded by the Korea government (MSIT) (NRF-2017M3A9B8069610). The monolayer
                                           of HOSE cells was cultured with M199/MCDB basal medium (1:1) supplemented with 10%
                                           Fetal bovine serum FBS and 1% penicillin/streptomycin. HOSE cells were maintained up to
                                           six passages, but most HOSE cells aged at two or three passages. IHOSE cells were established
                                           by transfecting HPV E6/E7 and SV40 T antigen to short-cultured HOSE cells using a lentiviral
                                           system. Cells were grown in DMEM containing 10% FBS with 1% penicillin / streptomycin
                                           and cultured at 37ÊCin 5% CO2. Images of the cells were acquired using an Cell Imaging Sys-
                                           tem (Thermo Fisher Scientific, Rockford, IL). This study was approved by the institutional
                                           review board of Gangnam Severance Hospital, and informed consent was obtained from each
                                           patient before sample collection. All cell lines were established in the Laboratory of Obstetrics
                                           and Gynecology, Gangnam Severance Hospital, Seoul, Korea. Five IHOSE cell lines were
                                           deposited with the Korean Gynecology Cancer Bank (KGCB), and are available to researchers.
                                           SKOV3 and OVCAR3 cell lines were purchased from the American Type Culture Collection
                                           (ATCC, Manassas, VA). SKOV3 and OVCAR3 cell line was maintained in RPMI-1640 supple-
                                           mented with 1% penicillin / streptomycin and were cultured at 37ÊCin 5% CO2.

                                           Lentiviral production and infection
                                           To generate pCDH-HPV-E6 and pCDH-HPV-E7, cDNA encoding HPV-E6 or HPV-E7 was
                                           amplified from total RNA of cervical cancer SiHa cells using the following primer sets for
                                           HPV-E6: 50 -AAGAATTCATGCACCAAAAGAGAACTGCAAT-30 (forward) and 50 -A
                                           AGGATCCTTACAGCTGGGTTTCTCTACGTG-30 (reverse), and HPV-E7: 50 -AAGA
                                           ATTCATGCATGGAGATACACCTACATT-30 (forward) and 50 -AAGGATCCTTATGGTT
                                           TCTGAGAACAGATGG-30 (reverse). The amplified cDNA was cloned into EcoRI and
                                           BamHI restriction sites of the pCDH-EF1-MCS-T2A-copGFP Lentivector (System Biosciences,
                                           Mountain View, CA). pLenti CMV/TO SV40 small+Large T vector was obtained from Addgene
                                           (Cambridge, MA). HEK293T cells (1 × 106) were co-transfected with 2 µg lentiviral vector and
                                           2 µg pPACKH1 Lentivector Packaging Kit (System Biosciences, Palo Alto, CA). The crude viral
                                           supernatant was collected 48 h and 72 h after transfection (collected viral medium, 10 mL). HOSE
                                           cells were infected with 500 µL of the collected crude viral medium per dish. The medium with
                                           infected cells was replaced with fresh medium after 24 h. During this process, the infected cells
                                           did not have with a selectable marker, and single colonies were not selected.

                                           Short tandem repeat (STR) profiling and mycoplasma contamination test
                                           Genomic DNA of IHOSE cells were extracted by Total DNA Extreaction Kit. (iNtRON Bio-
                                           technology, Seoul, Republic of Korea). STR profiling analysis was conducted through the



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                                           Korea Cell Line Bank (http://cellbank.snu.ac.kr). Genomic DNA was processed for STR profil-
                                           ing using PCR Amplification kit (Applied Biosystems, Foster, CA) according to the manufac-
                                           turer's direction. After PCR amplification, the samples were analyzed on the ABI 3530xl
                                           Genetic Analyzer (Applied Biosystems) using the GeneMapper v5.0 software (Applied Biosys-
                                           tems). Each sample was amplified using Mycoplasma PCR Detection kit (iNtRON Biotechnol-
                                           ogy) according to the manufacturer's suggested protocol. The PCR products were separated in
                                           1% agarose gel at 30 V for 30 min and detected using Gel Doc XR+ imaging system (Bio-Rad
                                           Laboratories, Inc, Hercules, CA)

                                           Ion AmpliSeq Transcriptome library Preparation
                                           When 3 HOSE, 5 IHOSE and 2 ovarian cancer cells were 70% confluence, total RNA was extracted
                                           with TRIzol Reagent according to manufacturer's protocol (Ambion, Carlsbad, CA) and were
                                           quantified using Qubit RNA HS Assay Kit (Life Technologies, Carlsbad, CA) and calculated per-
                                           centage of RNA fragments larger than 200nt using smear analysis of Agilent 2100 Bioanalyzer (Agi-
                                           lent Technologies, Santa Clara, CA). DNA samples were quantified using Qubit dsDNA HS Assay
                                           Kit (Life Technologies). An Ion AmpliSeq Transcriptome library was constructed with the Ion
                                           Transcriptome Human Gene Expression Kit (Life Technologies) as per manufacturer's protocol. 10
                                           ng of total RNA were reverse transcribed to make cDNA by random priming. cDNA product was
                                           amplified target genes using the Ion AmpliSeq Human Gene Expression Core Panel with the Ion
                                           AmpliSeq Library Kit Plus. After primer digestion, adapters and molecular barcodes were ligated to
                                           the amplicons followed by magnetic bead purification. This library was amplified for a total of 5
                                           cycles and purified. Amplicon size and DNA concentration were measured using an Agilent High
                                           Sensitivity DNA Kit (Agilent Technologies) according to the manufacturer's recommendation.

                                           Ion Proton sequencing
                                           Sample emulsion PCR, emulsion breaking, and enrichment were performed using the Ion PI
                                           Template OT2 200 Kit v3 (Life Technologies, Part #4488318 Rev. B.0), according to the manu-
                                           facturer's instructions. Multiple barcoded libraries were combined together with equal molar
                                           ratios for one Ion PI v2 chip. 2 pooled Ion AmpliSeq Exome libraries were loaded onto a single
                                           Ion PI v2 chip. 5 pooled Ion AmpliSeq Transcriptome libraries were loaded onto a single Ion
                                           PI v2 chip. Subsequent emulsion PCR and enrichment of the sequencing beads of the pooled
                                           libraries was performed using the Ion OneTouch system (Life Technologies) according to the
                                           manufacturer's protocol within about 7 hours. Finally, 520 Flows sequencing was done on the
                                           Ion PI v2 chip using Ion PI Sequencing 200 Kit v3 (Life Technologies, Part #4488315 Rev. B.0)
                                           on the Ion Proton sequencer (Life Technologies).

                                           RNA sequencing read mapping and gene expression analysis
                                           RNA sequencing reads were mapped to the human genome (hg19) and calculated the reads
                                           count for each gene. Finally, each gene was normalized using RPKM. And we analyzed scatter
                                           plot, heat-map and differentially expressed genes (DEGs). The heat map was drawn as log val-
                                           ues. This whole process was analyzed using DNASTAR Lasergene 15 software. David bioinfor-
                                           matics database (https://david.ncifcrf.gov/) was used for Gene ontology analysis.

                                           Real-time PCR
                                           At 70±80% of confluence, all cells were washed with PBS and total RNA was extracted with TRIzol
                                           Reagent according to manufacturer's protocol (Ambion, Carlsbad). Total RNA (1 µg) from each
                                           sample was reverse-transcribed into cDNA using Maxima First Strand cDNA Synthesis Kit



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                                           (Thermo Scientific, Waltham, MA) according to the manufacturer's protocol. Real-time polymer-
                                           ase chain reaction (PCR) was performed to quantify mRNA expression using SYBR Green PCR
                                           Master Mix (Enzynomics, Daejeon, Republic of Korea) and an ABI PRISM 7300 real-time PCR
                                           system (Applied Biosystems, Foster City, CA) according to the manufacturer's instructions. Rela-
                                           tive mRNA expression was quantified using the comparative Ct (ΔCt) method and expressed as
                                           2-ΔΔCt, where ΔΔCt = ΔE± ΔC, ΔE = CtE target±CtE GAPDH, and ΔC = CtC target±CtC
                                           GAPDH (E = experimental result and C = controls). Each assay was done in triplicate and
                                           expressed as the mean ± standard error (SE). A series of dilutions were prepared from a stock
                                           solution of total RNA to generate a standard curve to determine reaction efficiencies. The primers
                                           for PCR were as follows: HPS1: Forward 50 -CTCCAAAAGTGAGCCCGGAT-30 and
                                           Reverse 50 -ATGAGCCTCTGCACTTGGTC-30 , KRT222: Forward 50 -AAGGGGCC
                                           TTGAAAACTCCC-30 and Reverse 50 -GGAGGTGGCGATAAGTTGCT-30 , PKP1:
                                           Forward 50 -AGGAGGAACTCATTGCCGAC-30 and Reverse 50 -AGCTCAGGTTCC
                                           TCAAGCAG-30 , OR522N1: Forward 50 -ACTGCAAGGGCAACGTCATA-30 and
                                           Reverse 50 -ATCAAAGCCCCCAATCAGCA-30 , and GAPDH: Forward 50 -GAAGGTG
                                           AAGGTCGGAGT-30 and Reverse 50 -GAAGATGGTGATGGGATTTC-30 .

                                           Protein extraction and western blotting
                                           Total cell lysates were isolated using cell lysis buffer (150 mM NaCl, 50 mM Tris pH 7.4, 1%
                                           NP-40, 1 mM EDTA, 1 mM sodium orthovanadate, 1 mM NaF, and 1 mM sodium pyrophos-
                                           phate) containing proteinase inhibitor cocktail (Roche, Nutley, NJ). Protein concentrations
                                           were determined by BCA assay (Sigma-Aldrich, St. Louis, MO). Proteins were separated by
                                           SDS-PAGE and transferred from gels to 0.2 µm nitrocellulose membranes (Pall Corporation,
                                           Washington, NY). Protein bands were visualized using western blotting luminol reagent
                                           (Santa Cruz Biotechology, Inc., Dallas, Texas) after binding with a HRP-conjugated secondary
                                           antibody. Anti-Cytokeratin 7 (sc-23879), anti-Cytokeratin 18 (sc-515852), anti-EpCAM (sc-
                                           25308), anti-α-Actinin (sc-17829), and anti-GAPDH (sc-59541) antibodies were obtained
                                           from Santa Cruz Biotechnology, while anti-E-cadherin (#14472), anti-CD133 (#5860), and
                                           anti-CD44 (#3570) antibodies were purchased from Cell Signaling Technology (Danvers, MA)

                                           Cell proliferation assay
                                           To directly count the number of cells, cells were seeded in a 6-well plate at a density of 4 × 104
                                           cells per well and cultured for 8 days. Ten microliters of resuspended cells were used for
                                           obtaining cell counts every 2 days using an automated cell counter (Logos Biosystems, Inc.,
                                           Republic of Korea). All experiments were performed in triplicate. The growth rate was esti-
                                           mated between 2 and 8 days using the formula [32] :
                                                                                       Nt ¼ N0 2ft

                                           where Nt, total number of cells; N0, initial number of cells; f, growth rate; and t, treatment time.
                                           The growth rate values were then used to calculate the doubling time, using the formula [32] :
                                                                                                     lnð2Þ
                                                                                  Doubling time ¼
                                                                                                       f

                                           where f, growth rate and ln = natural logarithm.

                                           Soft agar assay for colony formation
                                           Cells (1 × 104) were seeded on 0.3% agar containing 10% FBS underneath 0.6% top agar in a
                                           12-well plate. After a 1-week incubation at 37ÊCand 5% CO2, 1 mL of media was added to the



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                                           dishes to avoid drying out and to refill sufficient nutrients. Four weeks later, colonies were
                                           stained using a 5 mg/mL 3-(4,5-dimethylthiazol-2-yl)-2,5-diphenyltetrazolum (MTT)
                                           solution.


                                           Statistical analysis
                                           Experimental results were statistically evaluated with two-tailed paired student's t test using
                                           Graphpad Prism 7. All tests of significance were set at p < 0.05.


                                           Results
                                           Preparation and characterization of five IHOSE cell lines
                                           We obtained HOSE cells from four patients without cancer and used a lentivirus to overex-
                                           press HPV-E6/E7 and SV40 T antigen in these cells. One of the HOSE cell samples, HOSE-
                                           1431, was used to produce two immortalized cell lines that respectively overexpressed
                                           HPV-E6/E7 or SV40 T antigen. IHOSE cell lines were established from the other three HOSE
                                           cell samples by inducing overexpression of SV40 T antigen only, because HOSE cells express-
                                           ing HPV-E6/E7 exhibited senescence. Fig 1A shows images of the cells of the five IHOSE cell
                                           lines at low or high density. In previous reports, HOSE or IHOSE cells in a monolayer culture
                                           exhibited a cobblestone appearance, depending on the conditions of the culture media [33±
                                           35], and IHOSE cells infected of hTERT exhibited the co-existence of rod and cobblestone
                                           shapes [6]. The five IHOSE exhibited this co-existence with similar a morphology to that of
                                           epithelial cells (Fig 1A). Using RT-PCR, we screened for mycoplasma contamination, and con-
                                           firmed no mycoplasma DNA was present in any of the cell lines (Fig 1B). Further, RT-PCR
                                           was used to confirm the successful insertion of the SV40 T antigen and HPV-E6/E7 genes for
                                           cell immortalization. All four IHOSE cell lines immortalized by SV40 T antigen expressed the
                                           antigen, whereas HPV-E6/E7 was expressed in the other IHOSE cell line. HPV-E6/E7 protein
                                           expression was also detected from total RNA samples of SNU-17 and Caski cervical cancer
                                           cells as positive controls (Fig 1C). Western blotting was used to detect protein expression of
                                           the epithelial cell markers cytokeratin 7 and cytokeratin 18 in IHOSE cells; cytokeratin 18
                                           showed relatively high expression in both IHOSE cells and ovarian cancer cells, whereas cyto-
                                           keratin 7 was expressed at lower levels in IHOSE cells compared to that found in ovarian can-
                                           cer cells. However, both cytokeratins were expressed at lower levels in cells from the IHOSE-
                                           0160-SV40 cell line and SKOV3 ovarian cancer cells than in the other cells tested (Fig 1D).
                                           This difference is consistent with the well-known low expression of cytokeratin genes in
                                           SKOV3 cells [36, 37]. From RNA sequencing analysis, we determined that the major expressed
                                           cytokeratins in IHOSE and ovarian cancer cells were keratin types 7, 8, 18, and 19. The expres-
                                           sion of these cytokeratins in IHOSE cells decreased after immortalization. Especially, the
                                           expression level of these keratins was diminished more in IHOSE-0160-SV40 cells than in the
                                           other IHOSE cell lines (S1 Table). For the five IHOSE and two ovarian cancer cell lines, the
                                           growth rates were measured for up to 8 days. The growth rates of five IHOSE cells differed
                                           from each other. 8695-SV40 and 1431-SV40 grew faster than the other IHOSE cells, and 1431
                                           E6/E7 grew the slowest. Compared to the ovarian cancer cell lines, 8695-SV40 and 1431-SV40
                                           grew faster than SKOV3, but their growth was similar with OVCAR3 (Fig 1E and Table 1).
                                           Table 1 indicated the doubling time of each cell lines. Genomic DNA was extracted from cells
                                           from all five IHOSE cell lines, and DNA fingerprinting was conducted using 16 STR loci.
                                           Comparison of STR profiles with the integrated molecular authentication database 2.1 [38]
                                           confirmed that all five IHOSE cell lines represent novel cell lines (Table 2). As IHOSE-
                                           1431-E6/E7 and IHOSE-1431-SV40 cells share the common HOSE progenitor cell HOSE-



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                          Fig 1. Characterization of five immortalized human ovary surface epithelial (IHOSE) cell lines. (A) Representative images showing the
                          morphology of cells from five IHOSE cell lines. SE (Upper panel = Low density of cells; Bottom panel = High density of cells). Scale bar:
                          400 µm, 100× magnification. (B) Mycoplasm contamination testing was performed using 100 ng genomic DNA by RT PCR. (C) The
                          expression levels of SV40 T antigen and HPV E6/E7 protein in IHOSE cells were detected by RT PCR. β actin and GAPDH were used as
                          loading controls. (D) The expression levels of indicated protein were determined by western blot analysis in the five IHOSE and cancer cell
                          lines. β actin and GAPDH were used as loading controls. (E) Cells (4 × 104) were seeded in a 6 well plate and counted every 2 days up to 8
                          days. Cell proliferation was determined using an automated cell counter. Results indicate cell number ± SD.
                          https://doi.org/10.1371/journal.pone.0205297 g001

                                              1431, identical STR profiling results were obtained for these two cell lines. Consequently, we
                                              have established five IHOSE cell lines capable of continuous growth.


                                              IHOSE cells are genetically closer to HOSE cells than ovarian cancer cells
                                              RNA sequencing was then performed to examine the gene expression patterns in the newly
                                              established IHOSE cells in comparison to three of the progenitor HOSE cell lines and two
                                              ovarian cancer cell lines. Based on expression data of 22,878 genes (S3 Table), correlation (R2)
                                              values among the three groups were analyzed through comparison of scatter plots between
                                              groups. The correlation in gene expression levels was greater between the IHOSE and HOSE



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                                                    Table 1. The doubling time of each cell lines.
                                                                Cell lines                          Doubling Time (h)a                        Std. Deviation
                                                               1431 E6/E7                                   90.20                                 11.52
                                                               1431 SV40                                    35.81                                  1.55
                                                               0160 SV40                                    42.92                                  1.17
                                                               8695 SV40                                    33.67                                  2.21
                                                               4138 SV40                                    52.11                                  2.47
                                                                 SKOV3                                      46.02                                  1.12
                                                                OVCAR3                                      33.98                                  0.67

                                                    The doubling time was calculated using results between 2 and 8 days in Fig 1E.
                                                    a
                                                     (h) = hour

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                                                    groups (R2 = 0.9288) than that found between IHOSE or HOSE and cancer cells (R2 = 0.8562
                                                    and R2 = 0.7982, respectively) (Fig 2A). Gene expression patterns of the 319 differentially
                                                    expressed genes (DEGs) were obtained based on a signal threshold  0.1, p  0.05, false dis-
                                                    covery rate of 5%, and two-fold alteration. There were 37 DEGs identified between the IHOSE
                                                    and HOSE groups, 278 DEGs identified between the IHOSE and cancer groups, and four
                                                    DEGs among all three groups (Fig 2B and S2 Table). The heatmap representing the expression
                                                    patterns of these 319 DEGs revealed little difference in gene expression between the HOSE and
                                                    IHOSE groups, with significant differences evident for the cancer group. This region of signifi-
                                                    cant difference in gene expression was categorized into gene cluster 1 and gene cluster 2 (Fig
                                                    2C), reflecting 102 and 67 genes with reduced and enhanced expression in the ovarian cancer
                                                    group, respectively (Fig 2D). Gene Ontology (GO) analysis of these clusters showed that gene
                                                    cluster 1 could be divided into 25 GO terms, with "mesenchyme migration" and "cell adhesion"
                                                    included among the top eight terms. Gene cluster 2 was divided into eight GO terms, with
                                                    "detection of chemical stimulus involved sensory perception of smell" and "G-protein coupled
                                                    receptor signaling pathway" ranked highest (Fig 2E). In addition, the dendrogram constructed
                                                    for each cell type according to the gene expression pattern revealed that IHOSE cells clustered
                                                    closer to HOSE cells, which were clearly distinguishable from ovarian cancer cells (Fig 2F). To

Table 2. STR profiling of five immortalized human ovary surface epithelial cells.
        STR Loci                     1431 E6/E7                 1431 SV40                   0160 Myc/SV40                   8695 SV40                4138 SV40
        D8S1179                         14, 17                     14,17                          12, 13                      13, 14                      10, 16
         D21S11                        29, 33.2                   29, 33.2                         30                         29, 33.2                     30
         D7S820                         10, 13                     10, 13                          12                           12                         11
         CSF1PO                         10, 12                     10, 12                         11, 12                       9, 10                      12, 13
        D3S1358                          15                          15                           15,18                       15, 17                      16, 7
          TH01                           7, 9                       7, 9                           6, 9                          9                         7, 9
        D13S317                         8, 12                      8, 12                           10                          8, 10                      10, 12
        D16S539                         9, 11                      9, 11                          10, 12                       9, 11                      9, 13
        D2S1338                         19, 20                     19, 20                         23, 24                      18, 25                      23, 24
        D19S433                         13, 14                     13, 14                        13, 14.2                     13, 14.2                    13, 14
           Vwa                           18                          18                           18, 19                        16                        17, 19
          TPOX                          8, 11                      8, 11                           8, 9                          8                        9, 11
         D18S51                         15, 16                     15, 16                         13, 14                      13, 17                      13, 14
       Amelogenin                         X                          X                               X                           X                          X
         D5S818                         11, 12                     11, 12                         10, 12                      11, 12                       10
           FGA                          24, 25                     24, 25                         21, 23                      10, 12                       26
https://doi.org/10.1371/journal.pone.0205297.t002



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                                     Fig 2. Analysis of differentially expressed genes (DEGs) between IHOSE, HOSE, and ovarian cancer (Cancer) cells using
                                     RNA sequencing. (A) Scatter plot revealing a linear correlation of gene expression pattern according to comparative analysis
                                     in HOSE versus IHOSE, IHOSE versus Cancer, and HOSE versus Cancer. (B) Venn diagram showing a common
                                     denominator in 319 DEGs based on sorting conditions of 2 fold change, a read count threshold > 0.1, and p < 0.05. (C)
                                     Heatmap of 319 DEGs in three analyzed groups. (D) Heat map of downregulated genes (Cluster 1) or upregulated genes
                                     (Cluster 2) in ovarian cancer compared to HOSE and IHOSE. (E) Gene ontology related to biological process ordered
                                     according to p value ( log10). Functional annotation clustering was performed using the DAVID algorithm (Upper
                                     panel = Cluster 1; Lower panel = Cluster 2). (F) Dendrogram for the clustering of each cell with Euclidean distance metric.
                                     (G) Validation of RNA sequencing gene expression levels by real time PCR for four common DEGs in the three groups. Data
                                     are represented as the mean fold change ± SE (Upper panel = RNA sequencing; Lower panel = Real time PCR).
                                     https://doi.org/10.1371/journal.pone.0205297.g002

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                              Fig 3. Immortalized human ovary surface epithelial (IHOSE) cell lines have no malignant characteristics. (A) The expression
                              levels of indicated protein for the cancer stem markers EpCAM, CD133, and E cadherin were measured by western blot analysis
                              (Star = non specific band). (B) Soft agar colony formation of 5 IHOSE and OVCAR3 cell lines stained by 5 mg/mL MTT solution.
                              Representative images of wells and colonies (Colonies = 100× magnification).
                              https //doi.org/10.1371/journal.pone.0205297.g003

                                              verify the accuracy of the RNA sequencing results, real-time PCR was performed for the four
                                              commonly altered genes found in the three groups (Fig 2B). Despite slight differences in the
                                              degree of variation among groups, the patterns of increased or decreased gene expression
                                              among groups were consistent to those found from RNA sequencing (Fig 2G, top) and real-
                                              time PCR results (Fig 2G, bottom). Overall, these findings demonstrate that IHOSE cells have
                                              a more similar gene expression pattern to HOSE cells than to ovarian cancer cells, indicating
                                              their suitability as control cell lines for cancer research.


                                              IHOSE cells have no malignant features of cancer cells
                                              IHOSE cell lines were established by overexpressing immortalizing proteins to maintain con-
                                              tinuous cell division. Since continuous cell division is a prominent feature of cancer cells, we
                                              verified whether these IHOSE cells have the malignant features of cancer cells by detecting
                                              protein expression levels of cancer stem cell markers using western blotting. We found that
                                              two cancer stem cell markers, EpCAM and CD133, were expressed only in ovarian cancer
                                              cells, and the expression level of the surface marker E-cadherin was much higher in ovarian
                                              cancer cells than in cells from any of the five IHOSE cell lines (Fig 3A). Another feature of can-
                                              cer cells is able to growth in suspended state. Using the anchorage-independent soft agar assay,
                                              we demonstrated that the IHOSE cells did not form colonies as opposed to the ovarian cancer
                                              cells that formed colonies (Fig 3B). Therefore, based on the previous results of the RNA
                                              sequencing analysis, we showed that the IHOSE cells are more similar to the HOSE cells than
                                              the ovarian cancer cell lines. Moreover, the IHOSE cells exhibited low expression of cancer
                                              stem cell markers and lack of anchorage-independent growth. Hence, we concluded that the
                                              IHOSE cells did not show carcinogenic characteristics of ovarian cancer cells, but they still
                                              exhibited the desired property of continuous cell division.


                                              Discussion
                                              We have been exploring differences in gene expression between the HOSE and ovarian cancer
                                              cell lines for more than a decade and have been identifying the clinical implications of various



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                                           ovarian cancer markers [39±43]. However, culturing of HOSE cells has proven to be a chal-
                                           lenge; moreover, the diversity of HOSE pool doesn't appear to be sufficiently secure. This
                                           study was initiated as part of our efforts to directly secure IHOSE cells and to have diversity in
                                           the experimental control group, while recognizing that immortalization of HOSE cells, which
                                           has previously been conducted in various laboratories, may be one method. Additionally, sev-
                                           eral papers related to the origin of ovarian cancer have been published in recently. It has been
                                           reported that epithelial ovarian cancer cells originate from other organs, and not from the ova-
                                           ries. Serous tumors have been reported to occur in the epithelial cells of the fallopian tube, and
                                           endometrioid and clear cell tumors have been reported to be associated with endometriosis
                                           which generally occurs in endometrial tissue due to retrograde menstruation. Thus, the endo-
                                           metrium is also a origin site for these ovarian tumors [29, 31, 44]. Ovarian cancer is a heteroge-
                                           neous disease that consists of several types of tumors with very different clinicopathological
                                           features and behaviors. Therefore, the origin of ovarian cancer is likely to vary. In order to
                                           study ovarian cancer, it is necessary to secure normal cells from other pelvic organs in addition
                                           to the normal ovarian epithelial cells. Our future goal is to obtain a variety of normal cells that
                                           are associated with the development of ovarian cancer, in order to produce a cell line and use
                                           it to study ovarian cancer. By the way, a suitable source of carcinogenic tissue and cell lines is
                                           essential for research on ovarian cancer to identify candidate biomarkers. However, such stud-
                                           ies have been hindered owing to the challenge of obtaining histologically stable samples of
                                           HOSE cells as controls. Moreover, even if HOSE cells can be obtained, their use is limited to
                                           single short-term experiments because of aging-induced damage that prevents continuous cell
                                           division. Thus, the acquisition of HOSE cells and establishment of immortalized cell lines are
                                           essential preparative steps to advance the field of ovarian cancer research. Recently, the devel-
                                           opment of advanced next-generation sequencing technology enables detailed genomic analysis
                                           of tumor and cell lines as well as investigation into the key genes and molecular events
                                           involved in carcinogenesis [45]. Among these techniques, RNA sequencing is a powerful
                                           method for accurately detecting over 10,000 changes at the RNA level using only a small
                                           amount of RNA. Thus, we employed an RNA sequencing strategy to compare gene expression
                                           profiles of the newly established IHOSE cell lines with each of their progenitor HOSE cells and
                                           ovarian cancer cells, demonstrating that IHOSE cells had retained most of the gene expression
                                           profiles of their progenitor cells, and were distinct from cancer cells. Notably, the two types of
                                           IHOSE cells (1431-E6/E7 and 1431-SV40) established by overexpressing HPV-E6/E7 and
                                           SV40 T antigen from the common progenitor HOSE-1431 exhibited identical STR profiles.
                                           However, the cell growth rates of these two IHOSE cell lines differed by over two-fold, indicat-
                                           ing a strong influence of the immortalization on cell growth properties. Nevertheless, the short
                                           Euclidean distance between IHOSE-1431-E6/E7 and IHOSE-1431-SV40 on the dendrogram
                                           confirmed that these differences in growth rates were not due to alterations in gene expression
                                           during the immortalization process. Further, cells from these two IHOSE cell lines do not
                                           seem to have significant differences in overall gene expression compared to cells from the
                                           other IHOSE cell lines or progenitor HOSE cells. The consistency between HOSE and IHOSE
                                           cells was further confirmed through analysis of DEGs, with clear differences detected from the
                                           gene expression patterns of ovarian cancer cells. The gene cluster showing enhanced expres-
                                           sion in the cancer group was enriched in the GO term `G-proteincoupled receptor signaling
                                           pathway', a finding which is consistent with a previous study showing a close association of G-
                                           protein-coupled receptors with the development, progression, and metastasis of ovarian can-
                                           cer [46]. In general, when cell adhesion decreases, cell growth increases along with an increase
                                           in migration or invasion [47, 48]. However, the RNA sequencing and GO results are in conflict
                                           with this general pattern, demonstrating reduced expression levels of genes involved in cell
                                           adhesion and mesenchyme migration in ovarian cancer cells. Cell adhesion molecules are



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                                           widely known as tumor suppressors because they promote cell adhesion-mediated contact
                                           inhibition to reduce cell growth and inhibit tumor dissemination [48]. However, there are also
                                           some cell adhesion molecules that can promote cell migration or invasiveness. For example,
                                           increasing the expression level of hepaCAM in HepG2 and MCF7 cells results in enhanced
                                           cell-extracellular matrix adhesion and cell migration [49]. In addition, overexpression of CEA-
                                           CAM1 in thyroid cancer cells results in increased cell invasion and migration, while CEA-
                                           CAM1 knockdown improved cell growth but decreased cell invasiveness [50]. Based on this
                                           background, the present results may imply reduced expression of genes governing migration
                                           along with reduced expression of certain cell adhesion molecules in ovarian cancer cells. We
                                           further detected a clear difference in the expression of cancer stem cell markers and tumor for-
                                           mation ability between IHOSE cells and ovarian cancer cells. Unfortunately, we were not able
                                           to conduct this comparison with additional progenitor HOSE cells because of the limited
                                           quantity of cells. We also found that the cancer stem cell markers EpCAM, CD133, and E-cad-
                                           herin were either expressed at low levels or were absent in IHOSE cells, and none of the five
                                           IHOSE cell lines formed colonies in the anchorage-independent soft agar assay. Thus, despite
                                           exhibiting immortalization characteristics for the continuous growth of IHOSE cells, these
                                           cells do not show the genetic or phenotypic characteristics of cancer cells. Therefore, the estab-
                                           lished IHOSE cells should be highly useful as a control cell source for ovarian cancer studies,
                                           and thus, are expected to become indispensable in basic research on ovarian cancer.

                                           Supporting information
                                           S1 Table. Cytokeratin expression in RNA sequencing data.
                                           (XLSX)
                                           S2 Table. Gene lists and RNA-sequencing read counts in venn diagram.
                                           (XLSX)
                                           S3 Table. Whole gene list and read counts (22,878 genes).
                                           (XLSX)


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